Case 2:04-cr-20311-.]P|\/| Document 174 Filed 06/23/05 Page 1 of 9 PagelD 253

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.v. 2:04cR20311-02-Ml W`ii' 1311 iii .-?,L-`~;;,:;§r§
LoRRAY BRoDEN

Dewun Settle CJA

Defense Attorney

100 North Main Building, # 3001
Memphis, TN 38103

 

 

JUDGMENT lN A CRlMlNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1~2, 4-7, 9, 13, 15-18, 20-24, 29, 31 ~34, 41-43 and
46-47 of the indictment on March 23, 2005. Accordingly, the court has adjudicated that the
defendant is guilty of the following offense(s):

 

Date Count
Tit|e & Secti°n Nature of Offense Offense Number(s)
Concluded
18 U.S.C. § 371 Conspiracy 05/30/2002 1
18 U.S.C. § 1343 Wire Fraud 05/30/2002 2, 4-7, 9,
1 3, 15-17
18 U.S.C. § 641 Embezzlement 05/30!2002 18, 20-24,
29, 31-33
18 U.S.C. § 1957 Engaging in Monetary Transactions 05/30/2002 34
Derived from Specified Unlawful
Activity
18 U.S.C. § Money Laundering 05/30f2002 41-43,
1956(3)(‘1)(B)(i) 46-47

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/25/1969 June 21, 2005
Deft’s U.S. |Vlarshal No.: 19809-076

'i°his document entered on the docket sheet ln compliance
with Hule 55 andfor 32le FRCrP on ° '

I7Ll

Case 2:04-cr-20311-.]P|\/| Document 174 Filed 06/23/05 Page 2 of 9 PagelD 254

Defendant’s Mailing Address:
6876 Stevenswoods Avenue
lVIemphis, TN 38141

§
dm
JON PH|PPS |VlCCALLA
U lTED TATES DlSTRlCT JUDGE

June 23 , 2005

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|MPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 48 months (or 4 years) as to each count. Each

count is to be served concurrently with each other for a total term of incarceration of
48 months (or 4 years).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNlTED STATES IV|ARSHAL
By:

 

Deputy U.S. Nlarshal

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Case No: 2:04CR20311-02-Ml Defendant Name: Lorray BRODEN Page 4 of 7

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to each count. Each count is to be supervised concurrently with
each other for a total term of supervision of 3 years..

The_ defendant shall report to the probation office in the district to which the
defendant ls released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised releasel the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921 .

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1 . The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ofncer and shall
submits truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ofncer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphema|ia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofncer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

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Case No: 2:04CR20311-02-M| Defendant Name: Lorray BRODEN Page 5 of 7

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofticer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment.

ADD|T|ONAL CONDITiONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug and alcohol testing and treatment programs as directed
by the Probation Office.

2. The defendant shall submit to mental health testing and treatment programs as directed by
the Probation Office.

3. The defendant shall provide third-party risk notification

4. The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit or making an obligation for any major purchase without the prior approval of the
Probation Office.

5. The defendant shall cooperate with DNA collection as directed by the Probation Oftice.

CRlMlNAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine *Total Restitution
$2,700.00 $362,400.13

The Specia| Assessment shall be due immediate|y.

*Restitution is to be paid joint and several with co-defendants Teresa F|emingl lsiah Hank
Conway_l Benita Rogersl Vencei Martln & Deandrea Robinson.

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F|NE
No fine imposed.
*REST|TUTION

Restitution in the amount of *§362,400.13 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

 

Priority
Total Amount of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment

lNTERNAL REVENUE $362,400.13 $362,400.13
SERV|CE,
Attn: RE: TERESA FLEM|NG
& LORRAV BRODEN CASE,

CASE NO. 2:O4CR20311

 
 

Conway, Benita Rogiarsl Vencel Martin & Deandrea Robinson.

|f the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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Case No: 2:04CR20311~02-Ml Defendant Name: Lorray BRODEN Page 7 of 7

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Unless the court has expressly ordered othenrvise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons’ inmate Financial Responsibiiity Program. are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

       

UNITED `sATEs DISTRIC COUR - W'"RNTE DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 174 in
ease 2:04-CR-20311 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Case 2:O4-cr-20311-.]Pi\/| Document 174 Filed 06/23/05 Page 9 of 9 PagelD 261

Honorable .1 on McCaila
US DISTRICT COURT

